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                           IN THE UNITED STATES DISTRICT COURT
 1                         FOR THE SOUTHERN DISTRICT OF TEXAS
 2
                                                      §
 3   RICHARD HENDERSON,                               §
                                                      §
 4                       Plaintiff,                   §     Civil Action No.
                                                      §
 5        v.                                          §     3:21-cv-255
                                                      §
 6   NESMETAJU, LLC and MARKETING                     §
     LABS, LLC, d/b/a                                 §
 7
     BRIGHTENLOANS.COM,                               §     Jury Trial Demanded
 8
     THELENDSOURCE.COM and                            §
     RUSHINLOANS.COM                                  §
 9                                                    §
                                                      §
10                        Defendants.                 §
                                                      §
11
                                 SECOND AMENDED COMPLAINT
12
               RICHARD HENDERSON (“Plaintiff”), by and through his attorneys, KIMMEL &
13

14
     SILVERMAN, P.C., alleges the following against NESMETAJU, LLC (“Nesmetaju”) and

15   MARKETING          LABS,         LLC   (“Marketing      Labs”)     d/b/a     BrightenLoans.com,

16   TheLendSource.com and RushInLoans.com.

17                                          INTRODUCTION
18          1.      Plaintiff’s Second Amended Complaint is based on the Telephone Consumer
19
     Protection Act (“TCPA”), 47 U.S.C. § 227, et seq., and § 302.101 of the Texas Business &
20
     Commercial Code.
21

22
                                      JURISDICTION AND VENUE
23
            2.      This Court has subject-matter jurisdiction over the TCPA claims in this action
24
     under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising
25



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     under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87
 1
     (2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts federal-
 2

 3   question subject-matter jurisdiction to hear private civil suits under the TCPA).

 4          3.       Supplemental jurisdiction for Plaintiff’s related state law claims arises under 28

 5   U.S.C. §1367.

 6          4.       This Court has personal jurisdiction over Defendants because Defendant
 7   Marketing Labs is headquartered in Texas and Defendant Nesmetaju maintains an office in
 8
     Texas where it does business.
 9
            5.       Furthermore, the occurrences from which Plaintiff’s cause of action arises took
10
     place and caused Plaintiff to suffer injury in the State of Texas.
11
            6.       Venue is proper pursuant to 28 U.S.C. §§ 1391 (b)(1) and 1391(b)(2).
12

13
                                                     PARTIES
14

15
            7.       Plaintiff is a natural person residing in League City, Texas 77573.

16          8.       Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).

17          9.       Defendant Marketing Labs is a limited liability company which maintains an

18   office in Sheridan, Wyoming.

19          10.      Defendant Marketing Labs can be served through its registered agent at 30 N.
20
     Gould St., Suite R, Sheridan Wyoming 82801.
21
            11.      Defendant Nesmetaju is a foreign company domesticated in St. Kitts and Nevis
22
     owned by Anton Ignatenko.
23
            12.      Nesmetaju is a parent-company of Marketing Labs.
24
            13.      Nesmetaju does business in the United States and can be served at 30 N. Gould
25



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     St., Suite R, Sheridan Wyoming 82801.
 1
            14.     Defendants are “persons” as that term is defined by 47 U.S.C. §153(39).
 2

 3          15.     Defendants acted through their agents, employees, officers, members, directors,

 4   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

 5

 6                                         FACTUAL ALLEGATIONS
 7          16.     At all times relevant hereto, Plaintiff, Richard Henderson, maintained a cell
 8
     phone, the number for which was (281) XXX-2765.
 9
            17.     At all times relevant hereto, Plaintiff used that cell phone for residential
10
     purposes.
11
            18.     Plaintiff registered that cell phone number on the Federal Do Not Call Registry
12
     on or around May 13, 2010.
13
            19.     Mr. Henderson registered that cell phone number on the Do Not Call list in order
14

15
     to obtain solitude from invasive and harassing telemarketing solicitation.

16          20.     At all times relevant hereto, Defendants worked together in concert.

17          21.     Defendants own and operate various companies that purport to offer personal

18   loans to US-based consumers.

19          22.     Defendants engage in telemarketing in order to solicit the interest for such loans.
20
            23.     Between November 2020 through at least December of 2020, Defendant sent a
21
     series of solicitation text messages to Plaintiff in order to direct Plaintiff to apply for loans
22
     operated by Defendant. (True and correct copies of screenshots reflecting these text messages
23
     are attached as Exhibit “A.”)
24

25



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            24.    Defendants operate through several alter egos or subsidiaries that hold
 1
     themselves    out,    inter    alia   “BrightenLoans.com”,       “TheLendSource.com”,        and
 2

 3   “RushInLoans.com.”

 4          25.    Henderson did not express interest in personal loans from any such entities, and

 5   did not consent to these messages from Defendants.

 6          26.    Defendants’ text messages were not made for “emergency purposes.”
 7          27.    For instance, following the receipt of the harassing messages, Plaintiff replied
 8
     “Stop” and received a message which indicated he was taken off of their internal contact list.
 9
     However, despite these assurances, Defendants continued to contact Plaintiff. (See Ex. A.)
10
            28.    In total, Defendant placed at least 20 text messages to Plaintiff, at dates/times
11
     including the following:
12

13

14
                      Date/Time:                   Caller ID:                  Sender
15         October 11, 2020 at 6:13 am CST       (408) 427-7660
                                                                     BrightenLoans.com
16
           November 12, 2020 9:44 am CST         (608) 623-6433
                                                                     TheLendSource.com
17
           November 12, 2020 9:46 am CST         (308) 470-4125
                                                                     TheLendSource.com
18
           November 12, 2020 10:13 am CST        (260) 308-4294
                                                                     TheLendSource.com
19
           November 12, 2020 10:23 am CST        (219) 506-7727
                                                                     TheLendSource.com
20
           November 12, 2020 10:43 am CST        (608) 879-1068
                                                                     TheLendSource.com
21
           November 12, 2020 11:19 am CST        (308) 730-4366
                                                                     TheLendSource.com
22
           November 12, 2020 11:19 am CST        (260) 308-4991
                                                                     TheLendSource.com
23
           November 12, 2020 11:33 am CST        (308) 470-4197
                                                                     TheLendSource.com
24
           December 3, 2020 10:05 am CST         (440) 636-1794
25
                                                                     TheLendSource.com



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           December 3, 2020 9:44 am CST             (385) 999-7405
 1                                                                   TheLendSource.com
           December 3, 2020 9:42 am CST             (440) 636-1816
 2                                                                   TheLendSource.com
           December 3, 2020 12:26 pm CST            (319) 946-4013
 3                                                                   RushInLoans.com
           December 3, 2020 12:26 pm CST            (321) 274-4071
 4                                                                   RushInLoans.com
           December 3, 2020 12:29 pm CST            (248) 780-8936
 5                                                                   RushInLoans.com
           December 3, 2020 12:29 pm CST            (440) 664-1403
 6                                                                   RushInLoans.com
 7
           December 3, 2020 12:32 pm CST            (608) 938-8515
                                                                     RushInLoans.com
 8
           December 3, 2020 12:34 pm CST            (440) 636-1088
                                                                     RushInLoans.com
 9         December 8, 2020 11:21 am CST            (913) 393-9859
                                                                     TheLendSource.com
10         December 8, 2020 11:29 am CST            (816) 542-3451
                                                                     TheLendSource.com
11

12   True and correct copies of the screenshots of those text messages are attached as Exhibit “A.”

13          29.     Upon information and belief, Plaintiff received additional messages from

14   Defendants not including in the above-list.
15
            30.     All of the messages sent by Defendants to Henderson contained messages with a
16
     link to a website to sign up to qualify for a loan.
17
            31.     As a result of the persistence of the unwanted messages, Mr. Henderson tried to
18
     ascertain who was responsible for sending these unsolicited messages. Plaintiff followed the
19
     links contained in the text messages.
20
            32.     Plaintiff was directed to three websites for BrightenLoans, TheLendSource and
21
     RushInLoans, which all had virtually identical graphics and design and described various loans
22

23   from the Defendants’ affiliate companies. (True and correct copies of print outs from the

24   websites BrightenLoans, TheLendSource and RushInLoans are attached as Exhibits “B”, “C”

25   and “D” respectively.)


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              33.   As a result of the foregoing, Plaintiff experienced frustration, annoyance,
 1
     irritation and a sense that his privacy has been invaded by Defendants.
 2

 3            34.   Furthermore, Defendants failed to register as telephone solicitors with the Texas

 4   Secretary of State, despite engaging in telephone solicitation from Texas consumers. This

 5   omission was in contravention of the obligations set forth in the Texas Business and Commerce

 6   Code.
 7            35.   The foregoing acts and omissions were in violation of the TCPA and Texas
 8
     Business and Commerce Code.
 9

10
                                             COUNT I
11                       TCPA: 47 U.S.C. § 227(c)(5) and 47 C.F.R. § 64.1200(c)
                                    Federal Do Not Call Registry
12
              36.   Plaintiff incorporates the foregoing paragraphs as though the same were set forth
13
     at length herein.
14

15
              37.   The TCPA prohibits any person or entity of initiating any telephone solicitation to

16   a residential telephone subscriber who has registered her or her telephone number on the

17   National Do-Not-Call Registry of persons who do not wish to receive telephone solicitations

18   that is maintained by the Federal Government. 47 U.S.C. § 227(c) and § 64.1200(c).

19            38.   Cell phone users who register their cell phones on the Do Not Call Registry and
20
     use said phones for residential purposes have the same protections as those who with a
21
     wireline/landline. In Re Rules & Regulations Implementing the Tel. Consumer Prot. Act of
22
     1991, 18 F.C.C. Rcd. 14014, 14039 (2003)
23
              39.   Plaintiff used his cell phone for residential purposes.
24

25



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            40.    Defendants transmitted multiple text messages to Plaintiff’s telephone number
 1
     despite the fact that Plaintiff has been on the Do Not Call Registry since May 13, 2010.
 2

 3          41.    Each of the text messages at issue were solicitation texts for solicitation purposes.

 4          42.    Defendants’ acts as described above were done with malicious, intentional,

 5   willful, reckless, wanton, and negligent disregard for Plaintiff’s rights under the law and with

 6   the purpose of harassing Plaintiff.
 7          43.    The acts and/or omissions of Defendant were done unfairly, unlawfully,
 8
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
 9
     defense, legal justification or legal excuse.
10
            44.    As a result of the above violations of the TCPA, Plaintiff has suffered the losses
11
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and treble
12
     damages.
13
                                             COUNT III
14
                         TCPA: 47 U.S.C. § 227(c)(5) and 47 C.F.R. § 64.1200(d)
15
                                    Internal Do Not Call Policies

16          45.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth

17   at length herein.

18         46.      The code promulgated by the FCC, 47 C.F.R. § 64.1200 et seq. requires

19   telemarketers to have an internal do-not-call written and available do not call policy, provide
20
     training for said policy, and implement and honor such a request. 47 C.F.R. § 64.1200(d)(1)-(5).
21
           47.      While Defendants apparently do record recognize “stop” requests from
22
     consumers (as it did for Henderson), they clearly do not train its employees, agents or vendors
23
     to honor those requests, or otherwise implement or honor “do not call’ requests themselves.
24

25



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           48.      The fact that Defendants recognized Plaintiff’s “stop” request yet continued to
 1
     text reflects that their violations were knowing and willful.
 2

 3         49.      Accordingly, Plaintiff is entitled to statutory and treble damages.

 4                                           COUNT III
                                  DEFENDANT VIOLATED § 302.101 OF
 5                            THE TEXAS BUSINESS & COMMERCIAL CODE

 6          50.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth
 7   at length herein.
 8
            51.     Plaintiff is a “consumer” as defined by § 301.001(2) of the Texas Business &
 9
     Commerce Code.
10
            52.     Defendant is a “telephone solicitor” as defined by § 301.001(5) of the Texas
11
     Business & Commerce Code.
12
            53.     Plaintiff received all texts from Defendant in Texas and is entitled to other relief
13
     under Texas law.
14

15
            54.     §302.101 of the Texas Business & Commerce Code prohibits sellers from

16   engaging in telephone solicitation from a location in Texas or to a purchaser located in Texas

17   unless the seller obtains a registration certificate from the Office of the Secretary of State for the

18   business location from which the solicitation is made.

19          55.     Defendants violated §302.101 of the Texas Business & Commercial Code when
20
     its representatives engaged in continuous and repetitive telephone solicitation of Plaintiff
21
     without obtaining a registration certificate from the Office of the Secretary of State.
22
            56.     §302.302(a) of the Texas Business & Commerce Code provides that a person
23
     who violates this chapter is subject to a civil penalty of no more than $5,000 for each violation.
24
     Furthermore, §302.302(d) provides that the party bringing the action is also entitled to recover
25



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     all reasonable costs of prosecuting the action, including court costs and investigation costs,
 1
     deposition expenses, witness fees, and attorney fees.
 2

 3           WHEREFORE, Plaintiff, RICHARD HENDERSON, respectfully prays for judgment as

 4   follows:

 5                   a.    Additional treble damages of $1,500.00 per text/call (as provided under

 6
                           47 U.S.C. § 227(c);
                     b.    Statutory damages of $5,000 per violation (as provided under
 7
                           §302.302(a) of the Texas Business & Commerce Code );
 8
                     c.    All reasonable attorneys’ fees, witness fees, court costs and other
 9                         litigation costs incurred by Plaintiff pursuant to. §302.302(a) of the Texas
10                         Business & Commerce Code
                     d.    Injunctive relief (as provided under 47 U.S.C. § 227(c); and
11
                     e.    Any other relief this Honorable Court deems appropriate.
12

13

14

15                                   DEMAND FOR JURY TRIAL

16           PLEASE TAKE NOTICE that Plaintiff, RICHARD HENDERSON, demands a jury trial
17   in this case.
18

19
                                                 Respectfully submitted,
20
     Dated: January 24, 2022                  By: /s/ Jacob U. Ginsburg
21                                               Jacob U. Ginsburg, Esq.
                                                 SDTX Attorney ID No. 3568914
22                                               Kimmel & Silverman, P.C.
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23                                               Ambler, PA 19002
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24
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25
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